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  13                      UNITED STATES DISTRICT COURT
  14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
  16 SHAWN CARTER, also known as              Case No. 2:21-cv-04848-PA-KS
     JAY-Z, an individual,
  17                                          PLAINTIFF’S MOTION IN LIMINE
                  Plaintiff,                  NO. 3 (PRE-LAWSUIT
  18                                          NEGOTIATIONS); DECLARATION
           v.                                 OF DYLAN C. BONFIGLI
  19
     JONATHAN MANNION, an                     The Honorable Percy Anderson
  20 individual, and JONATHAN
     MANNION PHOTOGRAPHY LLC, a               Date:      July 11, 2022
  21 New York limited liability company,      Time:      1:30 p.m.
                                              Courtroom: 9A
  22              Defendants.
                                              Trial Date: July 19, 2022
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   1        TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
   2        PLEASE TAKE NOTICE that on July 11, 2022, at 1:30 p.m. or as soon as the
   3 matter may be heard, in Courtroom 9A of the above-titled Court, located at 350 W.
   4 1st Street, Los Angeles, California 90012, Plaintiff Shawn Carter will, and hereby
   5 does, move in limine for an order excluding all evidence about negotiations between
   6 Plaintiff and Defendants that took place in May and June of 2021.
   7        This motion is made on the grounds that evidence about the negotiations are
   8 not relevant to any claim or defense in this right-of-publicity case, see Fed. R. Evid.
   9 401, 402, and will serve only to confuse the fact-finder and prejudice Plaintiff. See
  10 Fed. R. Evid. 403. This motion is also made on the ground that evidence about the
  11 negotiations is barred by Rule 408 of the Federal Rules of Evidence.
  12        The document and deposition evidence subject to this motion includes: JX-30,
  13 JX-31, JX-32, JX-33, JX-34, JX-49, JX-85, JX-88, JX-105, JX-133; Davidov Tr.
  14 34:5-18, 35:10-36:1, 36:2-37:12, 40:10-20, 40:17-41:23, 42:24-44:2, 116:20-117:15,
  15 125:8-126:18, 127:13-128:22.
  16        This motion is based on this notice; the memorandum of points and
  17 authorities; the declaration of Dylan C. Bonfigli; all pleadings, records, and papers
  18 on file in this action; such other matters of which this Court may take judicial
  19 notice; and upon such other evidence and oral argument as may be considered by the
  20 Court before or at the hearing on this application.
  21        This motion is made following a conference of counsel pursuant to Local
  22 Rule 7-3 and Section II.B of this Court’s Civil Trial Scheduling Order (ECF No.
  23 52), which took place on May 20, 2022.
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   1 DATED: June 17, 2022               QUINN EMANUEL URQUHART
                                            & SULLIVAN, LLP
   2
   3
                                        By /s/ Robert M. Schwartz
   4
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   7                                       Attorneys for Plaintiff
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   1 I.      PRELIMINARY STATEMENT
   2         Plaintiff Shawn Carter, p/k/a Jay-Z, moves to exclude evidence about
   3 discussions and negotiations between Plaintiff and Defendants that took place on the
   4 eve of the filing of this lawsuit, in May and June 2021. They concerned copyrights
   5 in photos of Jay-Z. Defendants initially agreed that these conversations should not
   6 come in as evidence, stating that Defendants themselves would move to exclude the
   7 negotiations on the ground that “pre-litigation negotiations between representatives
   8 for Plaintiff and representatives for Defendant are not relevant and not admissible.”
   9 (Bonfigli Dec. Ex. B at 3.) Defendants correctly recognized that the negotiations
  10 concerned “Defendants’ copyrights,” not “a license for Defendants to use Plaintiff’s
  11 name, image, and likeness [NIL],” such that the negotiations have no probative
  12 value in this right-of-publicity case. (Id.) And Defendants correctly recognized that
  13 there is “a significant risk that the jury would confuse Defendants’ copyrights that
  14 were the subject of the negotiations with Plaintiff’s at-issue right of publicity, a
  15 different right entirely.” (Id.)
  16         Moreover, evidence about the negotiations is inadmissible under Rule 408,
  17 because, as Plaintiff testified, the offers made during those negotiations were to
  18 “clear the slate” and [t]o come to some sort of resolution” regarding Defendants’
  19 claims of copyright ownership. (Carter Tr. [Bonfigli Dec. Ex. C] 170:5-171:7;
  20 184:16-185:16, 186:21-187:18.) Yet, when the parties met and conferred regarding
  21 motions in limine, Defendants reversed course without explanation and insisted on
  22 offering this evidence at trial.
  23         For these reasons and those set forth below, the Court should exclude all
  24 evidence about the negotiations between Plaintiff and Defendants that took place in
  25 May and June 2021.
  26 II.     BACKGROUND
  27         Starting in 1996, Plaintiff and his record companies hired Mannion to take
  28 photos of Jay-Z for use on album covers and for other commercial purposes. While
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   1 doing so, Mannion took thousands of photos. (Mannion Tr. [Bonfigli Dec. Ex. D] at
   2 243:3-6.) Mannion understood that the purpose of these shoots was to take photos
   3 of Jay-Z that would be used to promote Jay-Z and his recordings. (Id. 166:10-15.)
   4 Nevertheless, years after those shoots, Mannion registered the copyright to some of
   5 the Jay-Z photos and asserts that he owns the copyright to them. (Id. 61:2-15.)
   6         In May 2021, Mannion asked one of Jay-Z’s employees about an idea to use
   7 photos from the photoshoot for Jay-Z’s debut album, Reasonable Doubt, to create
   8 and sell non-fungible tokens (also known as “NFTs”). (Bonfigli Dec. Ex. E.) When
   9 Jay-Z learned of this, he was taken aback by Mannion’s suggestion that Mannion
  10 had the right to create NFTs from photos of Jay-Z, and Jay-Z told the employee to
  11 speak with Mannion “[t]o come to some sort of resolution.” (Carter Tr. [Bonfigli
  12 Dec. Ex. C] 170:5-171:7; 184:16-185:16, 186:21-187:18.)
  13         Negotiations ensued. At one point, the parties believed they had reached an
  14 agreement in principle. But the parties were unable to resolve the dispute. Shortly
  15 thereafter, Jay-Z filed this lawsuit.
  16 III.    EVIDENCE OF THESE PRE-LITIGATION NEGOTIATIONS IS NOT
  17         RELEVANT TO ANY CLAIM OR DEFENSE
  18         Only relevant evidence is admissible. Fed. R. Evid. 402. “Evidence is
  19 relevant if: (a) it has any tendency to make a fact more or less probable than it
  20 would be without the evidence; and (b) the fact is of consequence in determining the
  21 action.” Fed. R. Evid. 401. “The elements of a right-of-publicity claim under
  22 California common law are: ‘(1) the defendant’s use of the plaintiff’s identity;
  23 (2) the appropriation of plaintiff’s name or likeness to defendant’s advantage,
  24 commercially or otherwise; (3) lack of consent; and (4) resulting injury.’” Keller v.
  25 Elec. Arts Inc., 724 F.3d 1268, 1273 (9th Cir. 2013). “The same claim under
  26 California Civil Code § 3344 requires a plaintiff to prove ‘all the elements of the
  27 common law cause of action’ plus ‘a knowing use by the defendant [and] a direct
  28 connection between the alleged use and the commercial purpose.’” Id.
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   1         Here, as Defendants admitted, in stating their intent to exclude the very same
   2 evidence at issue, “[t]he pre-litigation negotiations … are not relevant,” because
   3 they concerned “copyrights” and “[t]he parties were not negotiating a license for
   4 Defendants to use [Jay-Z’s] [NIL].” (Bonfigli Dec. Ex. B at 3.) Contrary to what
   5 Defendants may argue now, the copyright negotiations do not reflect a tacit
   6 admission that Jay-Z consented to Defendants’ use of his NIL. As Defendants
   7 admitted, Jay-Z’s “at-issue right of publicity” is “a different right entirely” from the
   8 “copyrights that were the subject of the negotiations.” (Id.) And even if Defendants
   9 could argue that the negotiations reflect an a tacit acknowledgment by Jay-Z that
  10 Defendants hold the copyright to any photos of him, copyright ownership is
  11 irrelevant to Jay-Z’s right-of-publicity claims. See, e.g., Fahmy v. Jay Z, 2015 WL
  12 5680299, at *14 (C.D. Cal. Sept. 24, 2015) (excluding evidence of plaintiff’s
  13 copyright interest in sound recordings when copyright claim was based on written
  14 composition). Accordingly, evidence of the May and June 2021 negotiations are
  15 irrelevant and thus inadmissible.
  16 IV.     EVIDENCE OF THE PRE-LITIGATION NEGOTIATIONS WILL
  17         CONFUSE THE ISSUES, MISLEAD THE JURY, AND WASTE TIME
  18         “The court may exclude relevant evidence if its probative value is
  19 substantially outweighed by a danger of … undue prejudice, confusing the issues,
  20 misleading the jury, undue delay, [and] wasting time.” Fed. R. Evid. 403. Here,
  21 before reversing course, Defendants correctly recognized that “[t]here is a serious
  22 risk that the jury would confuse Defendants’ copyrights that were the subject of the
  23 negotiations with Plaintiff’s at-issue right of publicity, a different right entirely.”
  24 (Bonfigli Dec. Ex. B at 3.) Moreover, if Defendants present evidence regarding the
  25 negotiations, there is a substantial risk of confusion, undue delay, and wasting time.
  26 The parties will be forced to put on a mini-trial concerning which photographs were
  27 the subject of the negotiations and the various offers that were made during the
  28 negotiations. Finally, evidence of the negotiations may unduly prejudice the parties
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   1 because the negotiations involved counsel of record for both Jay-Z and Mannion
   2 (Robert Schwartz and Sarah Hsia, respectively).
   3 V.     EVIDENCE OF THE PRE-LITIGATION NEGOTIATIONS IS
   4        INADMISSIBLE UNDER RULE 408
   5        Under Rule 408 of the Federal Rules of Evidence, evidence of “offering …
   6 valuable consideration in compromising or attempting to compromise [a] claim” or
   7 “conduct or a statement made during compromise negotiations about the claim” is
   8 inadmissible to “prove or disprove the validity … of a disputed claim.” Fed. R.
   9 Evid. 408(a). This rule is based on two principles: (1) “[t]he evidence is irrelevant,
  10 since the offer may be motivated by a desire for peace rather than from any
  11 concession of weakness of position” and (2) “promotion of the public policy
  12 favor[s] the compromise and settlement of disputes.” Hudspeth v. Comm’r, 914
  13 F.2d 1207, 1213 (9th Cir. 1990).
  14        Here, because Defendants contend the negotiations between Jay-Z and
  15 Defendants show that Jay-Z consented to Defendants’ use of his NIL or that
  16 Mannion owns the copyright, that evidence is barred by Rule 408. The parties
  17 discussed was “clear the slate” over their dispute because Jay-Z did not “believe
  18 [Mannion is] entitled to own [the] images.” (Carter Tr. [Bonfigli Dec. Ex. C]
  19 186:21-187:18.) Thus, the negotiations are irrelevant since “the offer [was]
  20 motivated by a desire for peace rather than from any concession of weakness of
  21 position.” Hudspeth, 914 F.2d at 1213. And allowing Mannion to use these
  22 compromise negotiations to argue that Jay-Z consented to Mannion’s use of Jay-Z’s
  23 NIL would undermine Rule 408’s policy of promoting “the compromise and
  24 settlement of disputes.” Id.
  25 VI.    CONCLUSION
  26        The Court should exclude all evidence about negotiations between Plaintiff
  27 and Defendants that took place in May and June of 2021.
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    1                            DEFENDANTS’ OPPOSITION
    2 I.      INTRODUCTION
    3         The pre-litigation negotiation between the parties is plainly relevant. To
    4 begin, the negotiation is the most recent of a 25-year relationship where Plaintiff
    5 recognized Defendants’ open exploitation of the at-issue photographs (“Disputed
    6 Photos”). Not only did Plaintiff never object, but he also recognized that, to use the
    7 images himself, Plaintiff had to get licenses—permission—from Defendants. In
    8 other words, the pre-litigation negotiation helps show that Plaintiff cannot prove the
    9 lack-of-consent element of his claims.
   10         The pre-litigation negotiation is also relevant to rebut Plaintiff’s contention
   11 that he owns the copyrights in the Disputed Photos. In addition, Plaintiff’s damages
   12 expert relies on evidence of the negotiation for his opinion, and Plaintiff himself
   13 plans to use communications from the negotiation as trial exhibits.
   14         Moreover, the pre-litigation negotiation is not subject to Federal Rule of
   15 Evidence 408 because there was no offer to compromise any known claim. It was
   16 only after the negotiation ended that Plaintiff revealed his right-of-publicity claims
   17 by filing this lawsuit.
   18         Plaintiff cannot seriously contest the relevancy of the pre-litigation
   19 negotiation. His Motion in Limine No. 3 should be denied in its entirety.
   20 II.     RELEVANT BACKGROUND
   21         A.    Defendants’ Photographs of Plaintiff
   22         In 1996, Plaintiff released his debut album, Reasonable Doubt. Miyake Decl.
   23 Ex. B (“Burke Dep. Tr.”) at 32:8-14; First Am. Compl. (ECF 15) ¶ 12. Defendant
   24 Jonathan Mannion was the photographer at the Reasonable Doubt photoshoot,
   25 where he created photographs that would be used for the album. Miyake Decl. Ex. C
   26 (“Carter Dep. Tr.”) at 87:1-21. Over the years, Mr. Mannion created more
   27 photographs of Plaintiff, some of which were used for Plaintiff’s other albums. First
   28 Am. Compl. ¶ 21.
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    1         Since at least 2006, Defendants have licensed Mr. Mannion’s photographs of
    2 Plaintiff to others for a fee. For example, on three occasions from 2006 to 2009,
    3 Plaintiff and S. Carter Enterprises, a company that handles Plaintiff’s personal
    4 affairs, separately licensed or sought a license for some of the Disputed Photos from
    5 Defendants. See Carter Dep. Tr. at 147:24-149:15; Miyake Decl. Ex. H; Miyake
    6 Decl. Ex. D (“Perez Dep. Tr.”) at 22:18-25; Mannion Decl. in Supp. Resp. to Pl.’s
    7 Mot. in Limine (June 10, 2022) Ex. B. Companies affiliated with Plaintiff—such as
    8 Plaintiff’s music and management company, Roc Nation—have also licensed or
    9 sought licenses from Defendants. Mannion Decl. in Supp. Resp. to Pl.’s Mot. in
   10 Limine (June 10, 2022) Ex. C.
   11         B.    The Pre-Litigation Negotiation
   12         On May 17, 2021, Plaintiff’s lawyer Ryan Klarberg of Pryor Cashman LLP
   13 reached out to Defendants to discuss Plaintiff’s interest in another “potential
   14 licensing arrangement” with Defendants. Miyake Decl. Ex. K; id. Ex. E (Davidov
   15 Dep. Tr.) at 116:20-117:11. Defendants’ licensing agent, Uri Davidov, and Mr.
   16 Klarberg negotiated options for Plaintiff to license photographs of Plaintiff from
   17 Defendants for five years and the associated fees. Id. Ex. K.
   18         Plaintiff later wanted, instead, to purchase the photographs, and negotiations
   19 continued into mid-June 2021. On June 13, 2021, Brad Rose of Pryor Cashman LLP
   20 emailed Defendants’ representatives because he believed the parties reached a deal
   21 for Defendants to sell to Plaintiff the entire Reasonable Doubt portfolio. See Perez
   22 Dep. Tr. at 225:2-226:1, Ex. 49. But the parties actually disagreed as to what
   23 photographs would be sold and the price. Miyake Decl. Ex. G at 1-3; id. Ex. F
   24 (Santiago Dep. Tr.) at 176:21-186:17. When Defendants refused Plaintiff’s terms,
   25 Plaintiff concocted this lawsuit. See id. Ex. G at 4-5.
   26         C.    Plaintiff’s Claims
   27         On June 15, 2021, Plaintiff filed his initial Complaint, revealing that he was
   28 asserting right of publicity claims against Defendants. See generally Compl. (ECF
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    1 1). Plaintiff contends that he became aware that Defendants were using his name,
    2 image, or likeness in May 2021. Miyake Decl. Ex. N at 8-10 (interrogatory nos. 7-
    3 11). His claims concern the Disputed Photos:
    4            1. The “Got You All in Check” photograph (1995);
    5            2. The Reasonable Doubt cover photograph (1996);
    6            3. The “Beyond a Reasonable Doubt” photograph (1996), also from the
    7               Reasonable Doubt photoshoot;
    8            4. The Reasonable Doubt slipmat photograph (1996), also from the
    9               Reasonable Doubt photoshoot;
   10            5. The “Chess Not Checkers” photograph (1998);
   11            6. The “New Blue Yankee” photograph (1998);
   12            7. The “Last Laugh” photograph (2002); and
   13            8. The “Fame Wall” photograph (2021).
   14 Mannion Decl. in Supp. of Defs.’ Mot. in Limine (June 3, 2022) ¶¶ 3-9.
   15        Plaintiff’s purpose in filing this lawsuit is “[t]o make a clear record that [he]
   16 own[s] the images.” Carter Dep. Tr. 213:14-215:15. As Plaintiff explains:
   17               I created this -- these works, this imaging, the music, the
                    lyrics. . . .
   18
                    How could [Mr. Mannion] own these images? He didn’t
   19               even understand why these things came to be. . . .
                    He couldn’t explain them to you, but he’ll make -- he’ll
   20
                    make claims that -- you know, that these images are his? . . .
   21               I want the record to show that I own these photographs
                    because I do.
   22
   23 Id. Despite conceding no written contract applies to photographs taken at the
   24 Reasonable Doubt photoshoot (id. at 99:8-23) and failing to produce in discovery
   25 any contract that applies to any of the Disputed Photos, Plaintiff’s representatives
   26 contend that Mr. Mannion created the photographs under a “work for hire”
   27 arrangement (Perez Dep. Tr. at 81:11-83:21).
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    1         The relief that Plaintiff seeks include (1) a permanent injunction barring
    2 Defendants from any uses of any photograph (not just the Disputed Photographs)
    3 including Plaintiff’s name, image, or likeness, without Plaintiff’s permission; (2)
    4 damages from Defendants’ profits generated from any uses of the Disputed
    5 Photographs, including licenses to third parties; and (3) damages based on a
    6 hypothetical license fee that Plaintiff contends Defendants would have had to pay to
    7 use his name or likeness. See Miyake Decl. Ex. A (Plaintiff’s counsel’s June 2, 2022
    8 email).
    9 III.    DISCUSSION
   10         A.    The Pre-Litigation Negotiation Is Relevant
   11         Evidence of the pre-litigation negotiation is relevant, and this Motion should
   12 be denied. First, evidence of the pre-litigation negotiation is critical to rebutting
   13 Plaintiff’s contention that he did not consent to Defendants’ uses of the Disputed
   14 Photos. Defendants openly exploited the Disputed Photos for decades, and Plaintiff
   15 has had to seek licenses from Defendants to use the images for his purposes. The
   16 pre-litigation negotiation, during which Plaintiff initially wanted to discuss another
   17 license and then tried to buy all photographs from the Reasonable Doubt photoshoot
   18 as well as other photoshoots, is a continuation of Plaintiff’s acknowledgment that
   19 Defendants did not need his permission to use the Disputed Photos. See Jones v.
   20 Corbis Corp., 815 F. Supp. 2d 1108, 1113-16 (C.D. Cal. 2011), aff’d, 489 F. App’x
   21 155 (9th Cir. 2012) (finding plaintiff’s years of non-objection constituted implied
   22 consent that defeated right-of-publicity claim).
   23         Had Plaintiff actually objected to Defendants’ uses of the Disputed
   24 Photographs, the pre-litigation negotiation would certainly have proceeded
   25 differently. Even assuming Plaintiff is correct that he first learned about the at-issue
   26 uses of the Disputed Photographs in May 2021, when the negotiation was ongoing,
   27 he never sent a cease-and-desist letter or otherwise discussed his then-unfiled claims
   28 while the parties were working on a business deal. Evidence of the negotiation
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    1 should be permitted so the jury can decide whether Plaintiff’s conduct was
    2 consistent with the notion that he did not consent to Defendants’ uses of the
    3 Disputed Photos.
    4         Second, Plaintiff contends that he owns the Disputed Photos simply because
    5 they relate to his music. But what Plaintiff wanted to gain through the pre-litigation
    6 negotiation was Defendants’ ownership rights, a goal that contradicts the position
    7 that Plaintiff already owns the images.
    8         And third, Plaintiff himself relies on the pre-litigation negotiation in his case
    9 in chief. Plaintiff’s damages expert, Jon Albert-Levy, expressly depends on the pre-
   10 litigation negotiation for his opinion. See Miyake Decl. Ex. M ¶¶ 34-38, 42. And
   11 Plaintiff intends to use communications from the pre-litigation negotiation—
   12 communications that Plaintiff has not identified as being subject to this Motion—at
   13 trial. See Jt. Pre-Trial Exhibit List (ECF 115) at 5, 7, 8, 10 (joint exhibit nos. 28-31,
   14 84, 85-88, 105, 106). Plaintiff cannot, on the one hand, rely on the pre-litigation
   15 negotiation in his case in chief, while on the other, claim that evidence of the
   16 negotiation is irrelevant for Defendants’ purposes.
   17         The pre-litigation negotiation is undeniably relevant to core issues in this
   18 lawsuit.
   19         B.    Rule 408 Does Not Apply
   20         Evidence of the pre-litigation negotiation is not barred by Federal Rule of
   21 Evidence 408 because the rule “is limited to actual disputes over existing claims.”
   22 Koninklijke Philips Elecs. N.V. v. Nat’l Film Lab’ys Inc., 2012 WL 12886833, at *3
   23 (C.D. Cal. Dec. 4, 2012) (quoting Deere & Co. v. Int’l Harvester Co., 710 F.2d
   24 1551, 1557 (Fed. Cir. 1983)). The negotiation was initially about a potential
   25 licensing deal between Plaintiff and Defendants. It then became a discussion about
   26 Plaintiff’s potentially buying out Defendants’ ownership in Reasonable Doubt and
   27 other photographs. The negotiation was never about compromising the right-of-
   28 publicity claims asserted in this lawsuit.
                                                   -9-                   Case No. 2:21-cv-04848-PA-KS
                                                                     PLAINTIFF ’S M OTION I N LIMINE NO. 3
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 15 of 78 Page ID #:5936




    1         Plaintiff agrees. By his account, the pre-litigation negotiation was about a
    2 business deal to purchase copyrights, not about his right of publicity. See Mot. 1:16-
    3 19; Bonfigli Decl. Ex. C at 170:5-171:7, 184:16-185:16, 186:21-187:18.
    4 Accordingly, Rule 408 does not apply, and evidence of the pre-litigation negotiation
    5 is admissible. See Telecom Asset Mgmt., LLC v. FiberLight, LLC, 730 F. App’x 443,
    6 446 (9th Cir. 2018) (finding Rule 408 did not apply because admitted evidence
    7 concerned “pre-dispute business negotiations and not negotiations for the settlement
    8 of a future legal claim”); Genentech, Inc. v. Trustees of Univ. of Penn., 2012 WL
    9 762108, at *2 (N.D. Cal. Mar. 8, 2012) (finding Rule 408 inapplicable to licensing
   10 proposal that was not related to a claim that was disputed at the time).
   11 IV.     CONCLUSION
   12         For all these reasons, the Court should deny Plaintiff’s Motion in Limine No.
   13 3 in its entirety.
   14
   15 DATED: June 17, 2022                   WILLENKEN LLP
   16
   17                                        By /s/ Paul J. Loh
   18                                           Paul J. Loh
                                                Attorneys for Defendants
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                                                 -10-                  Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 3
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 16 of 78 Page ID #:5937




    1                                PLAINTIFF’S REPLY
    2         The Court should exclude evidence of the parties’ pre-suit negotiations, which
    3 occurred a few days and weeks before Plaintiff sued, as irrelevant, confusing,
    4 prejudicial, and a waste of time. Defendants designated page after page of
    5 deposition testimony going into the fine intricacies of the back-and-forth between
    6 the parties. None of that matters to the case, which concerns whether Mannion
    7 exploited Plaintiff’s name, image, and likeness (“NIL”) without authorization. He
    8 clearly did, and nothing about the pre-suit negotiations to avoid litigation supports a
    9 claim that Plaintiff consented to these uses. That Plaintiff was, at the time,
   10 interested in buying out any claim by Mannion of copyright ownership to the photos
   11 at issue here lends no support to Mannion’s consent defense. And such evidence
   12 runs headlong into Rule 408’s prohibition against using an offer of compromise to
   13 prove the invalidity of a claim. The Court should exclude the evidence.
   14         A.    The pre-litigation negotiations are not relevant.
   15         Consent. Defendants’ opposition makes no attempt to reconcile their current
   16 position with their past statements. Defendants previously stated that that the pre-
   17 suit negotiations “are not relevant” because they “concerned the licensing or
   18 purchase of Defendants’ copyrights.” Bonfigli Dec. Ex. B at 3. For whatever
   19 reason, Defendants now claim that the negotiations are “critical to rebutting
   20 Plaintiff’s contention that he did not consent to Defendants’ uses of the Disputed
   21 Photos.” Supra at 8. That makes no sense. In this right-of-publicity case, Plaintiff
   22 seeks to prevent Defendants from using his name, image, and likeness (NIL) on
   23 products and to advertise. See Civ. Code § 3344. That Plaintiff sought to buyout
   24 Defendants’ claim to copyright ownership in photos—to stop Defendants from
   25 using the photos—does not show that Plaintiff approved of Defendants’ use of
   26 Plaintiff’s NIL on products or to advertise. Pointedly, as Defendants have already
   27 admitted, “[t]he parties were not negotiating a license for Defendants to use
   28 Plaintiff’s [NIL].” Bonfigli Dec. Ex. B at 3 (emphasis added).
                                               -11-                Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 3
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 17 of 78 Page ID #:5938




    1          Defendants are unable to explain how Plaintiff’s willingness to settle this
    2 dispute by buying out Mannion’s claim to own the photos is evidence Plaintiff
    3 consents to Defendants’ commercial exploitation of his NIL. Indeed, in even
    4 making this argument, Defendants make clear they seek to do what Rule 408
    5 forbids. See infra at 13-14. Defendants claim Plaintiff’s willingness to enter into a
    6 transaction with them “is a continuation of Plaintiff’s acknowledgment that
    7 Defendants did not need his permission to use the Disputed Photos.” Supra at 8.
    8 That is incorrect. At most, the negotiations would reflect an acknowledgment that
    9 Plaintiff cannot use the photos without acquiring Defendants’ interests in them,
   10 which is irrelevant to a case arising from Defendant’s unauthorized use of Plaintiff’s
   11 NIL rights. As a Rule 408 communication, they are not even admissible for that.
   12          Ownership. Defendants contend that the pre-suit negotiations rebut
   13 Plaintiff’s claim that he “owns the images.” Supra at 9. But Defendants pulled that
   14 contention from Plaintiff during his deposition, and Plaintiff has moved to exclude
   15 evidence of copyright ownership and licensing from this right-of-publicity case. See
   16 Pl.’s MIL No. 1. If the Court grants that motion, Plaintiff will have no need to
   17 present evidence of copyright ownership and will not do so.
   18          Plaintiff’s Exhibits. Defendants contend that, based on Plaintiff’s exhibit
   19 list, Plaintiff intends to introduce evidence of the pre-litigation negotiation. Supra at
   20 9. But Plaintiff designated those exhibits as ones he “may offer” and will use them
   21 only if the Court allows evidence of the pre-litigation negotiations.1
   22          Damages. Defendants contend that Plaintiff’s damages expert, Jon Albert,
   23 relied on the pre-litigation negotiations. Supra at 9. That is incorrect. Mr. Albert’s
   24 analysis relies, in part, on Defendants’ internal valuation of the photos at issue and
   25 how much money they stood to gain from selling Jay-Z merchandise over time.
   26 Nothing about the back-and-forth between the parties bears on Mr. Albert’s
   27
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            Those exhibits are Joint Exhibit Nos. 29-31, 84, 85-88, 105, 106.
                                                  -12-                  Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 3
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 18 of 78 Page ID #:5939




    1 analysis. See Miyake Dec. Ex. M ¶ 35 (relying on the fact that Mannion told his
    2 licensing agent that he could earn $1 million from “print sales of a single image, but
    3 over time”). Defendants’ own valuation of their ability to profit from Jay-Z’s NIL is
    4 relevant to the value of Plaintiff’s NIL, as used by Defendants. See, e.g., Clark v.
    5 Am. Online Inc., 2000 WL 33535712, at *8 (C.D. Cal. Nov. 30, 2000) (“[T]he
    6 standard for measuring lost profits in a right of publicity case is the fair market
    7 value of the right to use plaintiff’s name or likeness in the manner in which it was
    8 used by defendant.”). Similarly, Mr. Albert relied on testimony from Defendants’
    9 licensing agent that—apart from the negotiations—he believed that $1,000,000
   10 “would be an acceptable fee” for the Reasonable Doubt cover photo. Miyake Dec.
   11 Ex. M ¶ 39. In any event, as Mr. Albert testified at deposition, this evidence merely
   12 “confirm[ed]” his independent determination as to the value of Plaintiff’s NIL,
   13 given that Defendants used it. Albert Tr. (Bonfigli Dec. Ex. F) at 201:23-202:19.
   14         B.    Rule 408 requires exclusion of the pre-suit negotiations.
   15         Rule 408 also bars evidence of the pre-suit negotiations. Defendants’
   16 opposition did not address Plaintiff’s showing that his “offer [of compromise] [was]
   17 motivated by a desire for peace rather than from any concession of weakness of
   18 position.” Supra at 4. Yet Defendants make clear they wish to use Plaintiff’s
   19 attempt to “clear the slate,” id., as an admission that he does not own the photos and
   20 that he consented to Defendants’ commercial exploitation of them—the very thing
   21 Rule 408 forbids.
   22         Defendants claim the rule does not apply because “when the negotiation was
   23 ongoing, [Plaintiff] never … discussed his then-unfiled claims.” Supra at 8. That is
   24 incorrect. Plaintiff’s lawyer prepared a draft settlement agreement stating that
   25 Mannion’s “use of certain photographs and/or Carter’s likeness therein has exceeded
   26 the scope of Mannion’s rights.” Bonfigli Dec. Ex. G. Mannion’s licensing agent
   27 and Plaintiff’s employee discussed litigation during their negotiations. Davidov Tr.
   28 (Bonfigli Dec. Ex. I) at 20:1-20 (“they threatened to sue”), 125:17-128:3 (“they
                                                -13-                 Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 3
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 19 of 78 Page ID #:5940




    1 were going to sue”); Santiago Tr. (Bonfigli Dec. Ex. H) at 157:4-25 (“legal battle”).
    2 And Plaintiff’s lawyer and Mannion’s licensing agent also discussed the potential
    3 for litigation. Davidov Tr. (Bonfigli Dec. Ex. I) at 37:6-12 (“he threatened to sue”),
    4 39:12-40:3 (he “said he was going to sue”).
    5         C.     Rule 403 requires exclusion of the pre-suit negotiations.
    6         Plaintiff argued that “if Defendants present evidence regarding the
    7 negotiations, there is a substantial risk of confusion, undue delay, and wasting time.”
    8 Supra at 3. Defendants did not address that argument. See supra at 5-10. Nor did
    9 they address their now-abandoned argument that the “[t]here is a significant risk that
   10 the jury would confuse Defendants’ copyrights that were the subject of the
   11 negotiations with Plaintiff’s at-issue right of publicity, a different right entirely.”
   12 Bonfigli Dec. Ex. B at 3. In failing to address these arguments, Defendants forfeited
   13 the right to do so. See, e.g., Resnick v. Hyundai Motor Am., Inc., 2017 WL
   14 1531192, at *22 (C.D. Cal. Apr. 13, 2017).
   15         In any event, confusion will ensue if Defendants present evidence of the pre-
   16 litigation negotiations. The jury will be confused as to whether Mannion’s alleged
   17 copyright ownership gives him the right to exploit Plaintiff’s NIL. It does not. But
   18 Defendants plainly want to present evidence of the negotiations in the hopes the jury
   19 will draw that impermissible inference. Supra at 5. Thus, the Court should grant
   20 Plaintiff’s motion based on Rule 403 too.
   21                                      CONCLUSION
   22         The Court should grant Plaintiff’s Motion in Limine No. 3.
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                                                  -14-                   Case No. 2:21-cv-04848-PA-KS
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    1 DATED: June 17, 2022               QUINN EMANUEL URQUHART
                                             & SULLIVAN, LLP
    2
    3
                                         By /s/ Robert M. Schwartz
    4
                                            Alex Spiro (pro hac vice)
    5                                       Robert M. Schwartz
    6                                       Cory D. Struble
                                            Dylan C. Bonfigli
    7                                       Attorneys for Plaintiff
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                                            -15-                 Case No. 2:21-cv-04848-PA-KS
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    1                     DECLARATION OF DYLAN C. BONFIGLI
    2         I, Dylan C. Bonfigli, declare as follows:
    3         1.    I am an attorney admitted to practice before this Court. I am associated
    4 with Quinn Emanuel Urquhart & Sullivan, LLP, counsel of record for Plaintiff
    5 Shawn Carter, professionally known as Jay-Z. I make this declaration in support of
    6 the Joint Motion in Limine No. 3. I make this declaration on personal, firsthand
    7 knowledge, and if called and sworn as a witness, I could and would testify
    8 competently to the facts set forth below.
    9         2.    The Joint Motion in Limine No. 3 seeks to exclude all evidence about
   10 negotiations between Plaintiff and Defendants that took place in May and June of
   11 2021.
   12         3.    The subject matter of the Joint Motion in Limine No. 3 has been
   13 discussed with opposing counsel, and opposing counsel stated that such matter may
   14 be mentioned or displayed in the presence of the jury before it is admitted in
   15 evidence and has refused to stipulate that such matter will not be mentioned or
   16 displayed in the presence of the jury unless and until it is admitted in evidence.
   17         4.    Plaintiff will be prejudiced if the Plaintiff’s Motion in Limine No. 3 is
   18 not granted because evidence about negotiations between Plaintiff and Defendants
   19 that took place in May and June of 2021 is not relevant and, if presented, it will
   20 likely cause unfair prejudice to Plaintiff, confuse the issues, mislead the jury, and
   21 waste trial time. As Defendants acknowledged, “[t]he pre-litigation negotiations …
   22 are not relevant,” because they concerned “copyrights,” and “[t]he parties were not
   23 negotiating a license for Defendants to use Plaintiff’s name, image, and likeness.”
   24 And there is “a significant risk that the jury would confuse Defendants’ copyrights
   25 that were the subject of the negotiations with Plaintiff’s at-issue right of publicity, a
   26 different right entirely.” Moreover, Plaintiff would suffer prejudice if evidence
   27 about the pre-litigation negotiations is permitted, because evidence about those
   28 negotiations is barred by Rule 408 of the Federal Rules of Evidence.
                                               -16-                 Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 3
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 22 of 78 Page ID #:5943




    1         5.    Attached as Exhibit A is a true and correct copy of a letter that I sent to
    2 defense counsel on May 13, 2022. In that letter, I state that, absent an agreement
    3 between the parties obviating the need to do so, Plaintiff would move to exclude
    4 “evidence about negotiations between Plaintiff and Defendants that took place in
    5 May and June of 2021 and that concerned a potential transaction regarding certain
    6 photographs of Plaintiff.”
    7         6.    Attached as Exhibit B is a true and correct copy of a letter from
    8 defense counsel, dated May 13, 2022. In that letter, defense counsel stated that they
    9 would move in limine to exclude evidence of pre-litigation negotiations between
   10 Plaintiff and Defendants concerning “the licensing or purchase of Defendants’
   11 copyrights” on the ground that “[t]here is a significant risk that the jury would
   12 confuse Defendants’ copyrights that were the subject of the negotiations with
   13 Plaintiff’s at-issue right of publicity, a different right entirely.” During a meet and
   14 confer on May 20, 2022, defense counsel stated that they were abandoning this
   15 position.
   16       7.      Attached as Exhibit C is a true and correct copy of excerpts from the
   17 deposition of Shawn Carter taken on March 4, 2022.
   18       8.    Attached as Exhibit D is a true and correct copy of excerpts from the
   19 deposition of Jonathan Mannion taken on March 13, 2022.
   20       9.    Attached as Exhibit E is Joint Trial Exhibit 28, which bears Bates No.
   21 MANNION001557.
   22    10. Attached as Exhibit F is a true and correct copy of excerpts from the
   23 deposition of Jon Albert, taken on April 6, 2022.
   24       11. Attached as Exhibit G is a true and correct copy of the first page of
   25 Deposition Exhibit 134.
   26      12. Attached as Exhibit H is a true and correct copy of excerpts from the
   27 deposition of Felix Leonard Santiago, taken on March 2, 2022.
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                                              -17-                Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 3
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 23 of 78 Page ID #:5944




    1         13.    Attached as Exhibit I is a true and correct copy of excerpts from the
    2 deposition of Uri Davidov, taken on March 10, 2022.
    3
              I declare under penalty of perjury under the laws of the United States that the
    4
        foregoing is true and correct.
    5
              Executed on June 17, 2022, at Los Angeles, California.
    6
    7
    8
    9                                        By      /s/ Dylan C. Bonfigli
                                                     Dylan C. Bonfigli
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    1                           ATTESTATION STATEMENT
    2        I, Robert M. Schwartz, the filer of this Joint Motion in Limine, attest pursuant
    3 to Civil L.R. 5-4.3.4(a)(2) that all other signatories listed, and on whose behalf the
    4 filing is submitted, concur in the filing’s content and have authorized the filing.
    5
    6 DATED: June 17, 2022                   QUINN EMANUEL URQUHART
                                                 & SULLIVAN, LLP
    7
    8
                                             By /s/ Robert M. Schwartz
    9
                                                Robert M. Schwartz
   10                                           Attorneys for Plaintiff
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                                                 -19-                  Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 3
   Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 25 of 78 Page ID #:5946




                           Exhibit A
May 13, 2022 Letter from Bonfigli to Defense Counsel
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 26 of 78 Page ID #:5947



        quinn emanuel             trial lawyers | los angeles
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                                                                                                        WRITER'S DIRECT DIAL NO.
                                                                                                                  (213) 443-3610

                                                                                                      WRITER'S EMAIL ADDRESS
                                                                                              dylanbonfigli@quinnemanuel.com



  May 13, 2022


  VIA E-MAIL

  Paul J. Loh                                                      Steven A. Marenberg
  Lika C. Miyake                                                   Kiaura Clark
  Kenneth Michael Trujillo-Jamison                                 Paul Hastings LLP
  Willenken LLP                                                    1999 Avenue of the Stars 27th Floor
  707 Wilshire Boulevard Suite 3850                                Los Angeles, California 90067
  Los Angeles, California 90017

  Sarah C. Hsia
  Rockstone Legal
  229 West 36th Street 8th Floor
  New York, New York 10018

  Re:     Carter v. Mannion, Case No. 2:21-cv-04848-PA-KS

  Counsel:

          Pursuant to Section II.B.3 of the Court’s Civil Trial Scheduling Order (ECF No. 52), we
  write to request that the parties meet and confer regarding motions in limine Plaintiff Shawn
  Carter may file absent an agreement between the parties obviating the need to do so.

          Plaintiff’s anticipated motions in limine include:

          1.     A motion to exclude any testimony from Jeffrey Sedlik on the ground that his
  opinions are not relevant, see Fed. R. Evid. 401, and do not satisfy the requirements of Rule 702
  of the Federal Rules of Evidence and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589
  (1993).

          2.     A motion to exclude evidence about negotiations between Plaintiff and
  Defendants that took place in May and June of 2021 and that concerned a potential transaction
  regarding certain photographs of Plaintiff. This motion will be based on Rules 401, 403, and 408
  of the Federal Rules of Evidence.



        quinn emanuel urquhart & sullivan, llp
        ATLANTA | AUSTIN | BOSTON | BRUSSELS | CHICAGO | DOHA | HAMBURG | HONG KONG | HOUSTON | LONDON | LOS ANGELES | MANNHEIM |
        MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY | SAN FRANCISCO | SEATTLE | SHANGHAI |
        SILICON VALLEY | STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | ZURICH
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 27 of 78 Page ID #:5948




         3.      A motion to exclude any evidence about the copyright ownership of any of the
  photographs at issue and any evidence about Defendants’ licensing the copyright of any
  photographs of Plaintiff, including any evidence regarding the Apartment 4B popup event. This
  motion will be based on Rules 401 and 403 of the Federal Rules of Evidence.

          4.      A motion to exclude any evidence regarding Mr. Mannion’s claimed belief that
  his sale of prints and other products depicting persons, including Plaintiff, was lawful, or based
  on advice of counsel. This motion will be based on Rules 401 and 403 of the Federal Rules of
  Evidence.

           Please let us know of a few dates and times that you are available next week to discuss
  these potential motions. Plaintiff reserves the right to raise additional potential motions in limine
  in advance of any conference of counsel, including, without limitation, on the basis of other pre-
  trial disclosures.

  Best regards,




  Dylan Bonfigli




                                                   2
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                         Exhibit B
May 13, 2022 Letter from Defense Counsel to Plaintiffs
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 29 of 78 Page ID #:5950




  May 13, 2022

                                                                                            Paul J. Loh
  VIA E-MAIL ONLY                                                                           ploh@willenken.com


  Robert M. Schwartz                                  Alex Spiro
  Dylan C. Bonfigli                                   Cory Struble
  Quinn Emanuel Urquhart & Sullivan, LLP              Quinn Emanuel Urquhart & Sullivan, LLP
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  Los Angeles, California 90017-2543                  New York, NY 10010
  robertschwartz@quinnemanuel.com                     alexspiro@quinnemanuel.com
  dylanbonfigli@quinnemanuel.com                      corystruble@quinnemanuel.com

  Re:        Shawn Carter v. Jonathan Mannion et al., Case No.: 2:21-cv-04848-PA-KS

  Dear Counsel,

  We write pursuant to Paragraph II.B.3 of the Civil Trial Scheduling Order (“CTSO”) entered in
  this matter to request a Local Rule 7-3 conference to discuss the motions in limine that
  Defendants intend to file. Below we describe the testimony, exhibits, or other matters that will be
  the subjects of the motions in limine, and provide brief summaries of Defendants’ positions and
  the terms of the orders that Defendants will seek.

  Relatedly, as raised during the parties’ May 6, 2022 conference, the Court ordinarily permits up
  to four motions in limine to be filed per side. CTSO ¶ II.B.2. Should the parties be unable to
  resolve the issues identified below, Defendants would like to confer about whether Plaintiff will
  stipulate that the parties be permitted to file up to eight motions in limine per side.

  Absent Plaintiff’s agreement to exclude the following evidence from the trial, Defendants intend
  to file motions in limine regarding the following:

             1.    Expert Testimony of Jon Albert-Levy

  Plaintiff cannot show that Mr. Albert-Levy and his opinions meet the requirements of Federal
  Rule of Evidence 702. See Stilwell v. Smith & Nephew, Inc., 482 F.3d 1187, 1192 (9th Cir. 2007)
  (expert testimony must be reliable and helpful to fact finder). Mr. Albert-Levy does not have the
  scientific, technical, or other specialized knowledge to render an expert opinion about potential
  damages in this lawsuit. His experience with endorsement deals is not relevant to this lawsuit
  between the subject of photographs and the photographer over the use of the subject’s name,
  image, or likeness in the photographs. Thus, Mr. Albert-Levy’s opinions will not be helpful to
  the jury.

  Further, Mr. Albert-Levy’s opinions are not supported by sufficient facts or data and are not
  based on reliable principles and methods. For example, he did not review deals between




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Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 30 of 78 Page ID #:5951



  May 13, 2022
  Page 2



  photographers and Plaintiff or other celebrities. Rather, Mr. Albert-Levy compares the selling of
  prints and physical goods on which photographs are imprinted by Defendants, who run a small
  business, with endorsement agreements requiring Plaintiff to render significant personal services
  to multimillion- or multibillion-dollar corporations. With those inapt “comps,” Mr. Albert-Levy
  makes leaps of logic to conclude that Plaintiff is somehow entitled to millions in damages.

  Defendants will move for an order to exclude the expert testimony of Mr. Albert-Levy.

             2.   Expert Testimony of Megan Mahn Miller

  Plaintiff cannot show that Ms. Mahn Miller and her opinions meet the requirements of Rule 702.
  See Stilwell, 482 F.3d at 1192. Ms. Mahn Miller does not have the scientific, technical, or other
  specialized knowledge to render an expert opinion about fine art photography or the primary
  marketability and economic value of prints of the at-issue photographs. Also, Ms. Mahn Miller’s
  experience in the memorabilia industry is not relevant to Defendants’ prints, so her opinions will
  not be helpful to the jury.

  In addition, Ms. Mahn Miller’s opinions are not supported by sufficient facts or data and are not
  based on reliable principles and methods. For example, she never conducted a study to determine
  the motivations of purchasers of prints, did not sufficiently research the markets for Defendants’
  prints and similar photographers’ prints, and did not inspect an actual print of the at-issue
  photographs before reaching her opinions. Instead, Ms. Mahn Miller relies on tautology and
  confirmation bias to reach conclusions about purchaser motivations, the appropriate market for
  Defendants’ prints, and the primary marketability and economic value of the prints.

  Defendants will move for an order to exclude the expert testimony of Ms. Mahn Miller.

             3.   Island Def Jam Photography/Illustration Agreements

  The six Photography/Illustration Agreements 1 between Mr. Mannion and Island Def Jam are not
  relevant and are not admissible. See Fed. R. Evid. 401, 402. Island Def Jam is not a party to this
  lawsuit. Moreover, the only photographs that are at issue are photographs whose prints were sold
  within the applicable limitations period and photographs that were imprinted on physical goods
  that were sold within the applicable limitations period. The Photography/Illustration Agreements
  contracts do not apply to any of those photographs.

  Moreover, the probative value, if any, of these contracts is substantially outweighed by the
  dangers of confusing the issues, misleading the jury, and causing unfair prejudice to Defendants.

  1
    The six Photography/Illustration Agreements are dated (i) July 25, 2001; (ii) January 12, 2002;
  (iii) November 13, 2002, reissued December 16, 2002; (iv) November 19, 2002, reissued
  December 16, 2002; (v) January 23, 2002; and (vi) September 30, 2003.




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  That is, there is a significant risk the jury will be confused and misled that the
  Photography/Illustration Agreements apply to the at-issue photographs, that any contractual
  provisions were breached, that Plaintiff can enforce any of Island Def Jam’s contractual rights,
  and that the Photography/Illustration Agreements have to do with Plaintiff’s right of publicity.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding the six Photography/Illustration Agreements between Mr. Mannion and
  Island Def Jam (deposition exhibits 2-7, 22, and 107 and all other versions of these contracts).

             4.   Defendants’ Internal Communications Regarding Generating Revenue

  Communications between Mr. Mannion and the employees of Jonathan Mannion Photography
  regarding their hopes to generate revenue are not relevant and not admissible. See Fed. R. Evid.
  401, 402. Whether they desired to grow Defendants’ business has nothing to do with whether
  Defendants have the right to publish or distribute Mr. Mannion’s photographs and physical
  goods on which the photographs are imprinted.

  Furthermore, the probative value, if any, of these communications is substantially outweighed by
  the dangers of confusing the issues, misleading the jury, and causing unfair prejudice to
  Defendants. See Fed. R. Evid. 403. The internal communications among colleagues were stated
  an ironic, humorous manner. But there is a significant risk that the communications can be
  improperly used to portray Defendants as excessively greedy or willing to commit unlawful acts
  to make money, causing unfair prejudice to Defendants.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding these internal communications regarding generating revenue
  (MANNION004495, MANNION009579, MANNION010720, MANNION008647,
  MANNION002651, MANNION003903, MANNION004100, MANNION004103,
  MANNION006365, MANNION009649, MANNION009654, MANNION009658, and all other
  versions of these documents, and any similar documents).

             5.   Pre-Litigation Negotiations

  The pre-litigation negotiations between representatives for Plaintiff and representatives for
  Defendants are not relevant and not admissible. See Fed. R. Evid. 401, 402. The negotiation
  concerned the licensing or purchase of Defendants’ copyrights, or a portion of such the rights, to
  Plaintiff. The parties were not negotiating a license for Defendants to use Plaintiff’s name,
  image, or likeness. Further, the negotiation concerned different photographs or sets of
  photographs at different times.

  In addition, the probative value, if any, of these communications is substantially outweighed by
  the dangers of confusing the issues, misleading the jury, and causing unfair prejudice to




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  Defendants. See Fed. R. Evid. 403. There is a significant risk that the jury would confuse
  Defendants’ copyrights that were the subject of the negotiations with Plaintiff’s at-issue right of
  publicity, a different right entirely. There is also a significant risk the jury would be misled that
  the monetary amount that Defendants requested to sell their rights have any bearing on potential
  damages in this lawsuit or indicate that Defendants had any improper motive in refusing to sell
  their rights.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding the pre-litigation negotiation.

             6.   Plaintiff’s Deals With Puma, Tiffany & Co., and Caliva

  Endorsement and sponsorship deals between Plaintiff and Puma, Tiffany & Co. and Caliva are
  not relevant and not admissible. See Fed. R. Evid. 401, 402. The claims and defenses here
  concern Plaintiffs’ right of publicity and Defendants’ rights to distribute the at-issue photographs
  that Mr. Mannion authored and physical goods on which those photographs were imprinted.
  Sponsorship and endorsement deals requiring Plaintiff to provide extensive personal services to
  multimillion- or multibillion-dollar corporations, are not relevant.

  Moreover, the probative value, if any, of these deals is substantially outweighed by the dangers
  of confusing the issues, misleading the jury, and causing unfair prejudice to Defendants. See Fed.
  R. Evid. 403. There is a significant risk the jury would be confused that the deals between
  Plaintiff and Puma, Tiffany & Co., and Caliva show that Defendants must follow similar terms
  for their uses of Mr. Mannion’s photographs. There is also a significant risk the jury would be
  misled that the fees Plaintiff received from the deals have any bearing on potential damages in
  this lawsuit.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding deals between Plaintiff and Puma, Tiffany & Co., and Caliva
  (CARTER0004372, CARTER0004400, CARTER0004436, and all other versions of these
  documents).

             7.   Defendants’ Deals With Aaliyah and DMX

  Deals between Defendants and representatives of the estates of Aaliyah and DMX, including any
  cease-and-desist letter(s) that preceded the deals, are not relevant and not admissible. See Fed. R.
  Evid. 401, 402. Other subjects of Mr. Mannion’s photographs are not parties to this lawsuit, and
  the unproven allegations in any cease-and-desist letters have no bearing on Defendants’ alleged
  actions and omissions here.

  Further, the probative value, if any, of these deals with the estates of Aaliyah and DMX is
  substantially outweighed by the dangers of confusing the issues, misleading the jury, and causing




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  unfair prejudice to Defendants. See Fed. R. Evid. 403. There is a significant risk that the jury
  would view unproven allegations in cease-and-desist letters from the estates’ representatives as
  evidence that Defendants have violated others’ rights of publicity in the past. There is also a
  significant risk the jury would view terms to which Defendants and those estates agreed upon to
  settle the disputes and to develop their business relationships as legal requirements that
  Defendants must follow as to all subjects of Mr. Mannion’s photographs, including Plaintiff.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding deals between Defendants and representatives of the estates of Aaliyah and
  DMX, including any cease-and-desist letters from the representatives that preceded to the deals.

             8.   Defendants’ Internal Communications Reacting to Plaintiff’s Initiation of
                  This Lawsuit

  Communications between Mr. Mannion and the employees of Jonathan Mannion Photography
  using curse words or other strong language in reacting to the filing of this litigation are not
  relevant and not admissible. See Fed. R. Evid. 401, 402. Their emotional reactions to the filing of
  the lawsuit have nothing to do with the claims or defenses in this case.

  Furthermore, the probative value, if any, of these communications is substantially outweighed by
  the dangers of misleading the jury and causing unfair prejudice to Defendants. See Fed. R. Evid.
  403. The internal communications among colleagues sometimes included strong language in
  reference to this litigation and to Plaintiff. There is a significant risk that the communications can
  be improperly used to portray Defendants in an unflattering light.

  Defendants will move for an order to exclude all documentary evidence, testimony, and
  argument regarding such internal communications (MANNION010940, MANNION010720, and
  any similar documents).

                                                  ***

  Under Paragraph II.B.3 of the CTSO, the Local Rule 7-3 conference regarding Defendants’
  anticipated motions in limine must take place within seven days of service of this letter. Please
  let us know your availability during the week of May 16, as soon as possible.

  Very truly yours,




  Paul J. Loh




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                         Exhibit C
    Excerpts from the March 4, 2022 Deposition of
                    Shawn Carter
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                                   CONFIDENTIAL

  1                    UNITED STATES DISTRICT COURT
  2                  CENTRAL DISTRICT OF CALIFORNIA
   3
   4


   5     SHAWN CARTER, also known as
         JAY-Z, an individual,
   6
                     Plaintiff,
   7                                             Case No. 2:21-cv-04848-PA-KS
               vs.
   8

         JONATHAN MANNION, an
   9     individual, and JONATHAN
         MANNION PHOTOGRAPHY LLC, a
 10      New York limited liability
         company,
 11
                     Defendants.
 12
 13
 14
 15                         ** CONFIDENTIAL **
 16                  REMOTE VIDEOTAPED DEPOSITION OF
 17                           SHAWN C. CARTER
 18                        Friday, March 4, 2022
 19                                Volume I
 20
 21
 22      Reported by:
         NADIA NEWHART
 23      CSR No. 8714
 24      Job No. 5107613
 25      PAGES 1 - 222

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  1      Jack Dorsey?

  2         A    An NFT idea by Jack Dorsey?            I don't.

   3        Q    Do you recall any NFT ideas involving Tidal?

   4        A    I don't.     Not specifically, no.

   5        Q    Did Mr. Mannion ever contact you about a                          11:52:10

  6      potential NFT idea?

   7        A    Not related to the Derrick Adams piece.                   This

   8     is something -- this is a new question?

  9         Q    Yes, not related to that piece.                For a

 10      separate NFT idea.                                                        11:52:28

 11         A    Yeah.

 12         Q    What do you recall about what he proposed?

 13         A    Not much.        I just know, you know, that was

 14      the last one.      It was, like, wait a minute.                Wait,

 15      wait, wait.      What?    Why -- why -- why -- what do you                11:52:42

 16      mean you don't own this?         How -- wait.

 17              Why are you proposing an idea?             That's what

 18      brought everything to a head, this particular idea.

 19      But I don't remember the idea that he proposed

 20      specifically.                                                             11:53:01

 21         Q    Great.     So can you explain more your reaction

 22      to Mr. Mannion's proposal for an NFT in connection

 23      with the 25th anniversary?

 24         A    I don't remember much about it.                I just

 25      remember the feeling of, you know, like, remember I                       11:53:14

                                                                                Page 170

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  1      said when Biggs was the -- the mental note that

  2      sounded off the alarm?

   3             This was the one that was like, oh, I've got

   4     to do something about this, because I need to figure

   5     out what is going on with all of -- with -- with                 11:53:28

  6      Mannion.   But I don't remember the idea

   7     specifically, no.

   8        Q    Did you ever reject Mr. Mannion's request to

  9      do an NFT project?

 10         A    Yeah.    I -- we didn't proceed with the                 11:53:57

 11      project, no, not at all.      That was -- again, when

 12      the -- I think it was through Lenny, I'm almost

 13      sure.   When he approached with it, that's when it

 14      was, like, no, I'm not doing that.          What's going on

 15      here?                                                            11:54:11

 16              You know, that's what made me really get to

 17      the bottom of him claiming to have ownership of my

 18      shit -- my things, my -- sorry, my image.

 19         Q    Sorry.   Just to clear the record, when you

 20      said your shit, you're referring to which image?                 11:54:28

 21         A    My -- my works, any -- any of my works, you

 22      know, Reasonable Doubt on.

 23         Q    So including the        all of the photos in the

 24      Reasonable Doubt shoot?

 25         A    Yes.                                                     11:54:43

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  1      I think these took place in 2021.            Does that -- is

  2      that       do you agree?

  3              MR. SPIRO:    Objection; vague.          I didn't

   4     understand that question.

   5             MR. TRUJILLO-JAMISON:         I'll rephrase it.            12:10:52

  6         Q    Are you aware that there were negotiations

   7     with Mr. Mannion about potentially acquiring

   8     photographs of you that he took in 2021?

  9              MR. SPIRO:    Objection; form, states a

 10      conclusion.                                                        12:11:05

 11              But you can answer.

 12              THE WITNESS:       I don't recall.       Can you show

 13      me these photos?     I don't recall Mannion taking

 14      photos of me in 2021.

 15      BY MR. TRUJILLO-JAMISON:                                           12:11:14

 16         Q    In 2021, did you have any discussions with

 17      Mr. Santiago about reaching out to Mr. Mannion to

 18      acquire Mr. Mannion's rights in photographs of you

 19      that he took?

 20         A    You're messing with me now.           It's a little        12:11:25

 21      trigger.     Don't call them his photos.

 22              Yeah, we discussed my -- my images and my

 23      artwork with       through Lenny with Mannion.

 24         Q    And what did you understand was the purpose

 25      of the discussions with Mr. Mannion?                               12:11:45

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  1         A    To come to some sort of resolution.        I

  2      can't     I don't have nothing -- I don't have

   3     ill-will towards Jonathan, and I appreciate him, you

   4     know, taking those photos and his collaboration.

  5      And I felt what I offered was more than fair, more              12:12:08

  6      than what was -- more than fair.

   7             I'll just leave it at that, because, again, I

   8     don't want to minimize his work.        And I wanted to

   9     I thought -- you know, again, you don't know.           I

 10      thought I was doing the right thing by him, by                  12:12:27

 11      trying to come to an agreement.

 12              And, you know, whatever advice he was given,

 13      I think it was bad advice.      You know, you probably

 14      would disagree with me, but I think it was bad

 15      advice, and, you know, now we're here today.           That's   12:12:42

 16      my understanding of the conversation.

 17         Q    What did you understand you would -- strike

 18      that.

 19              Did you offer Mr. Mannion any money in

 20      connection with these discussions?                              12:13:00

 21         A    Yes.

 22         Q    And what did you understand you would get in

 23      exchange for the money you would be giving

 24      Mr. Mannion?

 25         A    Something that was already mine, which is               12:13:09

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  1      which is the Reasonable Doubt photoshoot, which I'm

  2      saying which         you know, again, I felt like I was

  3      being more than fair offering to him something that

  4      is mine.

  5         Q     Well, I guess I'm asking in more specific                12:13:29

   6     terms, what did you expect to get from Mr. Mannion

  7      in exchange for the amount that you offered him?

  8         A     Anything -- any photos of mine that he

  9      believed that he owned.

 10         Q     Only with respect to the Reasonable Doubt                12:13:45

 11      shoot?

 12         A     Owned, period.     I don't know how far the

 13      extent -- I actually don't know what he believes he

 14      owns beyond Reasonable Doubt, as we sit here today.

 15      I'm just being real honest with you.            I don't know      12:14:08

  16     what -- for the claims he's making towards my work.

 17         Q     So I just want to -- again, I'm trying to

  18     clarify in my mind -- well, first off, how much did

 19      you offer to Mr. Mannion?

 20         A     A million dollars.                                       12:14:27

 21         Q     And in your view, that million dollars

 22      applied to only the Reasonable Doubt shoot photos?

 23         A     Anything.     Not only -- anything that he

 24      believed -- again, I don't know what he believes he

 25      owns.    Anything that he -- what I thought I was                 12:14:40

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  1      doing was, you know, clearing our -- our record, you

  2      know.

   3              I -- I, obviously, as you can hear, don't

   4     believe he's entitled to own my images.              It doesn't

   5     make any sense to me.      So what I was doing was                    12:14:59

   6     saying, hey, man, you know what?          You know, again, I

   7     appreciate any work that we've done.            We've done a

   8     lot of work, and, you know, I just don't want to

   9     I didn't want to be here.

 10               That was my way of saying let's clear the                    12:15:23

 11      slate.    I don't want to be here in a deposition and

 12      going to trial or whatever this thing ends up in,

 13      because I'm not going to stop, you know.              I believe,

 14      you know, if I'm fighting for something that's

 15      right, I'm going to fight to the end.            And that's           12:15:41

 16      just what it is.       So I felt I was doing the right

 17      thing by Jonathan.       I thought I was being more than

 18      fair.

 19               MR. TRUJILLO-JAMISON:       Can I -- Ms. Miyake,

 20      if you can put up Exhibit 32.                                         12:16:02

 21               MS. MIYAKE:     You should have it in your

 22      exhibits folder.

 23      BY MR. TRUJILLO-JAMISON:

 24         Q     All right.    Mr. Carter, Exhibit 32 is a

 25      document produced in this case bearing the Bates                      12:16:35

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                                   CONFIDENTIAL

  1
  2
  3
  4                  I, SHAWN C. CARTER, do hereby declare under
  5      penalty of perjury that I have read the foregoing
  6      transcript; that I have made any corrections as
  7      appear noted, in ink, initialed by me, or attached
  8      hereto; that my testimony as contained herein, as
  9      corrected, is true and correct.
 10                  EXECUTED this                day of
 11      20 -- t at
                                    (City)                       (State)
 12
 13
 14
 15
                           SHAWN C. CARTER
 16                        Volume I
 17
 18
 19
 20
 21
 22
 23
 24
 25

                                                                 Page 218

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  1                  I, the undersigned, a Certified Shorthand
  2      Reporter of the State of California, do hereby
  3      certify:
  4             That the foregoing proceedings were taken
  5      before me at the time and place herein set forth;
  6      that any witnesses in the foregoing proceedings,
  7      prior to testifying, were administered an oath; that
  8      a record of the proceedings was made by me using
  9      machine shorthand which was thereafter transcribed
 10      under my direction; that the foregoing transcript is
 11      a true record of the testimony given.
 12           Further, that if the foregoing pertains to the
 13      original transcript of a deposition in a Federal
 14      Case, before completion of the proceedings, review
 15      of the transcript [] was [] was not requested.
 16             I further certify that I am neither financially
 17      interested in the action nor a relative or employee
 18      of any attorney or any party to this action.
 19          IN WITNESS WHEREOF, I have this date subscribed
 20      my name.
 21

 22      Dated: March 5, 2022
 23
 24

                  NADIA NEWHART
 25               CSR NO. 8714

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                         Exhibit D
              Excerpts from the March 13, 2022
               Deposition of Jonathan Mannion
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 45 of 78 Page ID #:5966
                CONFIDENTIAL UNDER THE TERMS OF PROTECTIVE ORDER

  1      **CONFIDENTIAL UNDER THE TERMS OF PROTECTIVE ORDER**
  2
                          UNITED STATES DISTRICT COURT
  3
                         FOR THE DISTRICT OF CALIFORNIA
  4
  5
  6
                                            )
  7      SHAWN CARTER, also known )
         as JAY-Z,                )
  8                                         )
                      Plaintiff,            )
  9                                         )
             vs.                            )   Civil Action No.
 10                                             2:21-cv-04848-PA-KS
         JONATHAN MANNION,                  )
 11      et al.,
                                            )
 12                   Defendants.
                                            )
 13
 14
 15
 16              VIDEOTAPED DEPOSITION OF JONATHAN MANNION
 17                       Jersey City, New Jersey
 18                       Sunday, March 13, 2022
 19                              Volume I
 20
 21
 22      Reported by:
         LORI M. BARKLEY
 23      CSR No. 6426
 24      Job No. 5131261
 25      PAGES 1 - 300

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  1      that day.                                                    08:36:26

  2          Q.      So that means therefore that not only is         08:36:26

  3      there no signed contract by Mr. Carter authorizing           08:36:28

  4      you to sell copies of the photographs you took during        08:36:31

  5      the Reasonable Doubt photo shoot, there's no contract        08:36:34

  6      that authorizes you to spell any merchandise that            08:36:38

  7      incorporates any of the images you took during that          08:36:40

  8      photo shoot, correct?                                        08:36:43

  9          A.      Well, sort of going back to my point, by         08:36:50

 10      nature of me creating these images that copyright            08:36:52

 11      would belong to me and those agreements wouldn't be          08:36:54

 12      applicable.     The agreements would have further            08:36:58

 13      clarified the usage that -- that would be controlled,        08:37:00

 14      had there been language, but there was no contract to        08:37:05

 15      be --                                                        08:37:10

 16          Q.      I want to make sure I understand what you're     08:37:10

 17      telling me.     You're talking -- in your answer you're      08:37:13

 18      talking about something, you used the term                   08:37:15

 19      "copyright."                                                 08:37:19

 20          A.      Um-hmm.                                          08:37:19

 21          Q.      Correct?                                         08:37:20

 22          A.      Yeah.     The images would belong to me.         08:37:21

 23          Q.      Okay.                                            08:37:25

 24          A.      He --

 25                  (Speaking simultaneously.)

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  1          Q.      All right.   Let's go back to the Reasonable            12:12:15

  2      Doubt.   That was in 1996, correct?                                 12:12:18

  3          A.      That's correct.                                         12:12:20

  4          Q.      And at that point you were -- that was your             12:12:20

  5      first photo shoot for purposes of making a cover of a               12:12:25

  6      record album, right?                                                12:12:27

  7          A.      A specific album cover, yes.        There were          12:12:30

  8      covers of like singles and that and magazine covers                 12:12:34

  9      prior, but that was the first album cover.                          12:12:37

 10          Q.      When you were hired to -- for the Reasonable            12:12:40

 11      Doubt photo shoot, is it correct that you understood                12:12:44

 12      that the photos you would be taking would be used to                12:12:46

 13      promote Mr. Carter, Jay-Z and his music?                            12:12:51

 14          A.      For Reasonable Doubt at that time was what I            12:12:58

 15      understood the usage to be.                                         12:13:00

 16          Q.      So in other words, the answer is yes, you               12:13:01

 17      understood at the time you took the Reasonable Doubt                12:13:03

 18      photo shoot that the photos were going to be used to                12:13:06

 19      promote the Reasonable Doubt album by Mr. Carter?                   12:13:09

 20          A.      Yes.   I -- I understood that.          Sorry to talk   12:13:14

 21      over you.                                                           12:13:17

 22                  MR. SCHWARTZ:     And let's, Dylan, I'd like to         12:13:19

 23      mark what, Dylan, you may have in the folder as 71A                 12:13:31

 24      and B.   I'm not sure why it's an "A" and a "B."                    12:13:36

 25          Q.      But I want to show you a portion of a video             12:13:39

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                CONFIDENTIAL UNDER THE TERMS OF PROTECTIVE ORDER

  1                 Do you see that?                                      14:16:43

  2          A.     Yes, I do see that.                                   14:16:47

  3          Q.     And was that a true statement or were those           14:16:49

  4      true statements when you wrote those?                            14:16:51

  5          A.     I think I underestimated.         I think there       14:16:52

  6      were more images closer to 17,000 for Jay-Z projects.            14:16:54

  7          Q.     Okay.   Other than the fact that you believe          14:17:02

  8      maybe the 10,000 is closer to 17,000 photos, are the             14:17:09

  9      rest of the statements in the portion of this text               14:17:13

 10      that I read to you correct?                                      14:17:15

 11          A.     Yes.    It -- the top choices would have also         14:17:20

 12      increased, I think it was just a rough number, but               14:17:23

 13      everything else is correct.                                      14:17:27

 14          Q.     All right.    And okay -- all right.       Let's      14:17:32

 15      move on.                                                         14:17:40

 16                 Now, as you sit here today, do you                    14:17:41

 17      understand that Jay-Z wants you to stop selling                  14:17:43

 18      prints of the photos you took of him?                            14:17:47

 19          A.     You know, I don't know what he wants.                 14:17:50

 20      Because he's never made that entirely clear.           I         14:17:52

 21      think -- I've been told that -- I've been told a                 14:17:59

 22      number of things.       And we've offered a number of            14:18:05

 23      things in response, but I don't know what he wants to            14:18:09

 24      be honest.                                                       14:18:11

 25          Q.     Well, I could show you if it would be                 14:18:11

                                                                       Page 243

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Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 49 of 78 Page ID #:5970
                CONFIDENTIAL UNDER THE TERMS OF PROTECTIVE ORDER

  1                        I declare under penalty of
  2                    perjury under the laws of the State
  3                   of California that the foregoing is
  4                   true and correct.
  5                        Executed on _____________, 2022, at
  6
  7

  8
  9

 10
 11                              SIGNATURE OF WITNESS
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                                                                 Page 296
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Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 50 of 78 Page ID #:5971
                CONFIDENTIAL UNDER THE TERMS OF PROTECTIVE ORDER

  1      STATE OF CALIFORNIA                  ss.
  2      COUNTY OF LOS ANGELES
  3
  4                  I, Lori M. Barkley, CSR No. 6426, do hereby
  5      certify:
  6                  That the foregoing deposition testimony
  7      taken before me at the time and place therein set
  8      forth and at which time the witness was administered
  9      the oath;
 10                  That the testimony of the witness and all
 11      objections made by counsel at the time of the
 12      examination were recorded stenographically by me, and
 13      were thereafter transcribed under my direction and
 14      supervision, and that the foregoing pages contain a
 15      full, true and accurate record of all proceedings and
 16      testimony to the best of my skill and ability.
 17                  I further certify that I am neither counsel
 18      for any party to said action, nor am I related to any
 19      party to said action, nor am I in any way interested
 20      in the outcome thereof.
 21                  IN WITNESS WHEREOF, I have subscribed my
 22      name this 15th day of March, 2022.
 23
 24


 25                  LORI M. BARKLEY, CSR No. 6426

                                                                 Page 297
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                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 51 of 78 Page ID #:5972




                         Exhibit E
                        Joint Trial Exhibit 28
           Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 52 of 78 Page ID #:5973

               From: "Jonathan Mannion" <mannion@me.com>
                  To: "Lenny Santiago" <lennys@rocnation.com>
             Subject: MANNION - Bitski, Prophecy & Ideas
                Date: Tue, 11 May 2021 17:46:51 -0400
         Importance: Normal
       Inline-Images: 2005-07-21_10.21.55-2.jpg


     Good afternoon Lenny,

     You are very kind for passing this email along to Jay. I appreciate you immensely, for this gesture, and for
     simply being you.

     Thank you so very much.

     ___


     Greetings Jay,

     It has been too long since our paths have crossed, my friend, but hopefully that will change from this
     moment forward. I must begin by thanking you for the constant inspiration that you have provided through
     your example of a life well lived. I send blessing and light to you and your beautiful family.

     It remains a distinct honor to have created countless meaningful visuals with you during our nearly decade
     long run. I know that Reasonable Doubt celebrates the 25th year anniversary on June 25th and I had an idea
     around your new NFT platform, Bitski, where we could offer NFTs of the silkscreens from a printmaking
     session that I did in London at Jealous Gallery which populated the walls of the 20th year anniversary of
     Reasonable Doubt at Marlborough Gallery in Chelsea. I thought that this would be a great way for you to
     stand strong with your platform, to amplify Bitski to the masses and to offer something that people would
     most certainly get excited about. There is certainly a bigger conversation around NFT opportunities, and
     perhaps we can explore in further detail as your time allows.

     I will also say that the entire Reasonable Doubt show (22 art pieces) titled “Prophecy” is in climate
     controlled storage and this anniversary could be a great moment to share the work in a different setting to a
     new audience (LA, ATL, or perhaps where it all started, Brooklyn). I also have two of the pieces set aside for
     you that Biggs chose that I would love to deliver.

     There have been many ideas that I have accumulated over the years that I have kept close to my heart
     because I didn’t want to bother you with smaller plays as you are in another stratosphere of business
     dealings. That said, I think that there are important "legacy plays” and a major body of work to celebrate that
     would mean a great deal for the culture and creative community to feel. There are also massive lanes that
     could generate signifiant numbers that you would instantly have the infrastructure to support through the
     mighty Roc Nation or a new entity.

     There are ideas and opportunities that I have had forever that I simply wouldn’t want to do without you and I
     think that we would both be served well by “getting the band back together.” It would mean the world to me
     to have your support and it would be a privilege to continue to create with you, my brother.

     I appreciate you for allowing me to share a few thoughts and for taking a moment of your valuable time.




Confidential                                                                                             MANNION001557
         Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 53 of 78 Page ID #:5974
     All my very best,


     Jonathan




Confidential                                                                      MANNION001558
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 54 of 78 Page ID #:5975




                         Exhibit F
                Excerpts from the April 6, 2022
                   Deposition of Jon Albert
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 55 of 78 Page ID #:5976
                                   CONFIDENTIAL

  1                         UNITED STATES DISTRICT COURT
  2                        CENTRAL DISTRICT OF CALIFORNIA
  3
         SHAWN CARTER, also known as                 )
  4      JAY-Z, an individual,                       ) Case No.:
                                                     ) 2:21-cv-04848-PA-KS
  5                                                  )
                 Plaintiff,                          ) Pages 1 to 217
  6                                                  )
                 v.                                  )
  7                                                  )
         JONATHAN MANNION, an                        )
  8      individual, and JONATHAN                    )
         MANNION PHOTOGRAPHY LLC, a                  )
  9      New York limited liability
         company,
 10
                 Defendants.
 11
 12
 13
 14                            ***** CONFIDENTIAL *****
 15                                  DEPOSITION OF:
 16                                 JON ALBERT-LEVY
 17                             WEDNESDAY, APRIL 6, 2022
 18                                    9:59 a.m.
 19
 20      REPORTED BY:
 21      Vickie Blair
 22      CSR No. 8940, RPR-CRR
 23      JOB NO. 5164336
 24
 25      PAGES 1 - 220

                                                                   Page 1

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Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 56 of 78 Page ID #:5977
                                   CONFIDENTIAL

  1     assign his copyright to the "Reasonable Doubt" cover           14:53:01

  2     photo for a million dollars, to assign that copyright          14:53:05

   3    to Mr. Carter?                                                 14:53:08

   4                  MR. BONFIGLI:    Objection.                      14:53:09

   5                  THE WITNESS:    See, that's where I got          14:53:11

   6    confused, is whether he thought it was giving up the           14:53:13

   7    copyright to one photo or the -- just the right to sell        14:53:17

   8    copies of the photo, and he would retain the copyright.        14:53:20

   9                  And even after reading it a couple times,        14:53:24

 10     I still found it confusing, so it's hard -- I really           14:53:32

 11     can't answer the question.      I'm not sure.                  14:53:34

 12     BY MR. LOH:                                                    14:53:37

 13            Q      So I want -- and I appreciate that               14:53:37

 14     honesty, I really do, and, look, I'm not making a              14:53:41

 15     representation about the clarity of the communication,         14:53:44

 16     let's being clear; okay?                                       14:53:46

 17            A      I can understand that.                           14:53:48

 18            Q      Now -- but what I do want to ask you is          14:53:50

 19     that, in terms of using those communications to try to         14:53:53

 20     infer Mr. Mannion's valuation of the photograph, I just        14:53:57

 21     want to make sure that we have a clear conversation            14:54:00

 22     about that.                                                    14:54:03

 23                   Was Mr. Mannion's conception of how much         14:54:07

 24     the photo was worth based on what he thought the value         14:54:10

 25     of the copyright was or what the value of the name,            14:54:13

                                                                   Page 201

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                                   CONFIDENTIAL

  1     image, and likeness were?                                       14:54:16

  2           A       Oh.                                               14:54:17

   3                  MR. BONFIGLI:    Objection.                       14:54:17

   4                  THE WITNESS:    It seemed to me that              14:54:17

   5    Mr. Mannion felt he would receive a million dollars,            14:54:22

   6    not for the copyright, but just for not being able to           14:54:25

   7    sell it, not being able to sell the photos.                     14:54:29

   8                  In other words, "All right, to not sell           14:54:32

   9    the one photo, I guess I could take a million bucks."           14:54:33

 10                   So that's what I'm saying, he saw seven           14:54:37

 11     figure value in just one photo.                                 14:54:40

 12                   So I felt that really confirmed my own -­         14:54:42

 13     I didn't rely on that in any way to come up with my             14:54:46

 14     numbers, to me, it's just in reading those, yeah, that          14:54:50

 15     confirms my opinion.                                            14:54:54

 16                   But, again, I think he felt he would just         14:54:55

 17     give up very nominal rights, not copyrights, just               14:54:58

 18     nominal rights for which he'd get a million dollars for         14:55:02

 19     each photo.                                                     14:55:05

 20     BY MR. LOH:                                                     14:55:06

 21            Q      Let me ask you this:      Let me change the       14:55:06

 22     facts a little bit, and, again, I'm not here to contest         14:55:10

 23     your understanding.    I appreciate you telling me what         14:55:10

 24     you understood.                                                 14:55:14

 25            A      Well, I'm not totally -- I don't really           14:55:14

                                                                    Page 202

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Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 58 of 78 Page ID #:5979
                                   CONFIDENTIAL

  1                                  DECLARATION
  2
  3
  4                     I, JON ALBERT-LEVY, hereby declare that I
  5     am the deponent in the within matter; that I have read
  6     the foregoing deposition and know the contents thereof,
  7     and I declare that the same is true of my knowledge,
  8     except as to the matters which are therein stated.
  9                     I certify under penalty of perjury of the
 10     laws of the State of California that the foregoing is
 11     true and correct.
 12                     Executed this                day of------
 13     2022, at
 14
 15
 16
 17
 18
 19                               JON ALBERT-LEVY
 20
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 25

                                                                 Page 216
                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 59 of 78 Page ID #:5980
                                   CONFIDENTIAL

  1     STATE OF CALIFORNIA
  2                                        ss.
  3     COUNTY OF LOS ANGELES          )
  4                     I, Vickie Blair, CSR No. 8940, RPR-CRR, in
  5     and for the State of California, do hereby certify:
  6                     That, prior to being examined, the witness
  7     named in the foregoing deposition was by me duly sworn
  8     to testify as to the truth, the whole truth, and
  9     nothing but the truth;
 10                     That said deposition was taken before me
 11     at the time and place therein set forth, and was taken
 12     down by me stenographically and thereafter transcribed
 13     via computer-aided transcription under my direction and
 14     is a true record of the testimony given;
 15                     I further certify I am neither counsel
 16     for, nor related to, any party to said action, nor
 17     interested in the outcome thereof;
 18                     IN WITNESS WHEREOF, I have hereto
 19     subscribed my name this 8th day of April, 2022.
 20
 21
 22
 23
 24


 25                      Vickie Blair, CSR No. 8940, RPR-CRR

                                                                 Page 217
                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 60 of 78 Page ID #:5981




                         Exhibit G
             Excerpt from Deposition Exhibit 134
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 61 of 78 Page ID #:5982
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 62 of 78 Page ID #:5983




                         Exhibit H
                Excerpts from the March 2, 2022
                Deposition of Leonard Santiago
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 63 of 78 Page ID #:5984


  1                       UNITED STATES DISTRICT COURT
  2                      FOR THE DISTRICT OF CALIFORNIA
  3
  4
  5
                                                 )
  6      SHAWN CARTER,        also known )
         as JAY-Z,                       )
  7                                              )
                        Plaintiff,               )
  8                                              )
              vs.                                )   Civil Action No.
  9                                              )   2:21-cv-04848-PA-KS
         JONATHAN MANNION,                       )
 10      et al. ,

 11                     Defendants.

 12
 13
 14
 15                 VIDEOTAPED DEPOSITION OF LEONARD SANTIAGO
 16                          Hackens ack, New Jersey
 17                         Wednesday, March 2, 2022
 18                                  Volume I
 19
 20
 21
 22      Reported by:
         LORI M. BARKLEY
 23      CSR No. 6426
 24      Job No. 5080100
 25      PAGES 1 - 211

                                                                   Page 1

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 64 of 78 Page ID #:5985


  1          Q.    You said "I personally don't think it's                   13:36:57

  2      worth a war or some sort," correct?                                 13:36:59

  3          A.    Yeah.                                                     13:37:02

  4          Q.    And I take it by "war" you meant legal                    13:37:02

  5      battle?                                                             13:37:04

  6          A.    Yes.    From my conversation with Jonathan and            13:37:05

  7      Uri, more, more so Uri, he mentioned that he was                    13:37:09

  8      ready to go -- to go to legal with this, if it                      13:37:14

  9      didn't -- and he said if that's -- if that's what                   13:37:20

 10      happens, then that's just what it's -- you know,                    13:37:23

 11      whatever, we're prepared for it, or that's what it's                13:37:25

 12      going to be or something along those lines.                         13:37:28

 13                It was a phone conversation.             So that was      13:37:29

 14      on -- he said that, he mentioned it.          I would never         13:37:32

 15      mention that to Jonathan, like, just Jonathan and I                 13:37:35

 16      talking, we don't even come from a place like that.                 13:37:38

 17                So this came from his manager, so it's like,              13:37:42

 18      oh, wow, like and I'm now talking to Jonathan after,                13:37:44

 19      like, this -- is this worth going to, like, a legal                 13:37:48

 20      war or a battle, like this what?                                    13:37:51

 21                This is from a conversation with his manager              13:37:54

 22      who said he was prepared for it.        I never called Uri          13:37:57

 23      or stated or mentioned legal was going -- you know,                 13:38:02

 24      was going to come out, like never.         I was in this to         13:38:05

 25      avoid legal.                                                        13:38:09

                                                                          Page 157

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Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 65 of 78 Page ID #:5986


  1                        I declare under penalty of
  2                    perjury under the laws of the State
  3                   of California that the foregoing is
  4                   true and correct.
  5                        Executed on _____________, 2022, at
  6
  7

  8
  9

 10
 11                              SIGNATURE OF WITNESS
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                                                                 Page 207
                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 66 of 78 Page ID #:5987


  1      STATE OF CALIFORNIA                   ss.
  2      COUNTY OF LOS ANGELES
  3
  4                  I, Lori M. Barkley, CSR No. 6426, do hereby
  5      certify:
  6                  That the foregoing deposition testimony
  7      taken before me at the time and place therein set
  8      forth and at which time the witness was administered
  9      the oath;
 10                  That the testimony of the witness and all
 11      objections made by counsel at the time of the
 12      examination were recorded stenographically by me, and
 13      were thereafter transcribed under my direction and
 14      supervision, and that the foregoing pages contain a
 15      full, true and accurate record of all proceedings and
 16      testimony to the best of my skill and ability.
 17                  I further certify that I am neither counsel
 18      for any party to said action, nor am I related to any
 19      party to said action, nor am I in any way interested
 20      in the outcome thereof.
 21                  IN WITNESS WHEREOF, I have subscribed my
 22      name this 6th day of March, 2022.
 23
 24


 25                  LORI M. BARKLEY, CSR No. 6426

                                                                 Page 208
                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 67 of 78 Page ID #:5988




                         Exhibit I
                Excerpts from the March 10, 2022
                   Deposition of Uri Davidov
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 68 of 78 Page ID #:5989
                                   CONFIDENTIAL

  1                     UNITED STATES DISTRICT COURT
  2                   CENTRAL DISTRICT OF CALIFORNIA
  3
  4


  5
         SHAWN CARTER, also known as
   6     JAY-Z, an individual,


  7                  Plaintiff,
                                                 Case No. 2:21-cv-04848-PA-KS
  8            vs.


  9      JONATHAN MANNION, an
         individual, and JONATHAN
 10      MANNION PHOTOGRAPHY LLC, a
         New York limited liability
 11      company,


 12                  Defendants.


 13
 14
 15
 16                        ** CONFIDENTIAL **
 17          REMOTE VIDEOTAPED DEPOSITION OF URI DAVIDOV
 18                      Thursday, March 10, 2022
 19                                Volume I
 20
 21      Reported by:
         NADIA NEWHART
 22      CSR No. 8714
 23      Job No. 5123942
 24      PAGES 1 - 165
 25

                                                                      Page 1

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                                        866 299-5127
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                                   CONFIDENTIAL

  1         Q    Was he surprised that he was sued, or did he

  2      expect that there was a lawsuit coming?

   3        A    I think there were several threats made of --

  4      of Mr. Carter suing, so I think -- but I think we're

   5     all kind of expecting it, every conversation we had          10:15:02

   6     with -- with just about every person threatened to

  7      sue.

   8        Q    And who would those individuals be that

  9      threatened to sue?

 10         A    Robert and - - and Lenny.                            10:15:18

 11         Q    Robert being an attorney from Pryor Cashman?

 12         A    Yes.

 13         Q    Okay.     What do you recall about the nature of

 14      those threats?      Strike that.

 15              What do you recall about those threats?              10:15:36

 16         A    You know, in -- in both conversations, we

 17      were talking about licensing content, and when -­

 18      when, you know, either Robert or Lenny didn't like

 19      where the conversation was going or the negotiation

 20      was going, they threatened to sue.                           10:16:05

 21         Q    Uh-huh.     Okay.    I'm going to talk about

 22      your -- I want to talk about your personal

 23      background briefly and your professional background

 24      after that.

 25              Can you tell me where you grew up.                   10:16:21

                                                                    Page 20

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                                   CONFIDENTIAL

  1              And -- and -- and when we -- I mean, the

  2      conversation was -- was literally less than five

   3     minutes.      So I remember when -- when he didn't get

   4     the answer that I believe he was hoping for, he

   5     threatened to sue.                                             10:46:38

   6        Q    And       and what do you remember about that

   7     threat to sue?

   8        A    That he       he just threatened to sue.    It was

   9     kind of like, you know, you're -- you're not going

 10      to give us this, so we're going to sue you and get             10:46:59

 11      it anyway.      And that was pretty much the way Lenny's

 12      conversation also -- I would describe it as.

 13         Q    Do you recall that you discussed in this

 14      conversation the fact that Mr. Mannion had been

 15      licensing the rights to these photographs for media            10:47:21

 16      entities?

 17         A    I don't think he used the word "media."

 18         Q    No.     I -- I'm asking you if you had discussed

 19      with him the fact that Mr. Mannion had been

 20      licensing the pho- -- the rights to the photographs            10:47:41

 21      for media.

 22         A    Again, I -- I don't think he used the word

 23      "media."

 24         Q    Okay.     I mean, I'm asking you what you

 25      discussed with him, not what Bobby told you.                   10:47:55

                                                                      Page 37

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                                       866 299-5127
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                                   CONFIDENTIAL

  1      would you?

  2         A      I -- I don't think that question came up.

   3        Q      Uh-huh.     You didn't tell him that you knew

   4     you didn't have the right to -- to license

   5     merchandise?                                                     10:49:20

  6         A      Again, that didn't come up.

   7        Q      Wasn't that a concern of his?

  8         A      No.   I think he -- he         what -- the concern

   9     he had was Jonathan selling gallery prints.           And -­

 10      and my response was, every photographer in the world             10:49:37

 11      does that.      That's the only thing we discussed.

 12         Q      And what do you remember him saying about his

 13      concern with Mr. Mannion selling gallery prints?

 14         A      Well, when -- when the conversation kind of

 15      went south and he didn't like what I was saying,                 10:49:52

 16      that's when he brought it up and said that he was

 17      going to sue because of that, because of selling

 18      prints.     I said, "Every photographer in the world

 19      does that."

 20                But then, I remember specifically kind of              10:50:07

 21      getting him to back off and saying, "Listen, we

 22      don't need to -- we don't -- you don't need to

 23      threaten us.        We're -- we're trying to work this

 24      out.   Let's continue to stay professional, and

 25      and, you know, there's no need for threats."                     10:50:24

                                                                        Page 39

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Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 72 of 78 Page ID #:5993
                                   CONFIDENTIAL

  1              And -- and that's pretty much when the

  2      conversation ended.     I -- I knew that it wasn't

  3      really going anywhere.

  4         Q    And -- and this threat to sue concerned the

  5      sale of prints by Mr. Mannion, correct?                        10:50:38

  6         A    I -- I don't know, you know, what it

  7      concerned.    It was -- it was a threat, and I -- and

  8      that was -- that was pretty much when the

  9      conversation ended.

 10         Q    But you understood that Bobby felt that the            10:50:53

 11      sale of prints needed to stop, correct?

 12         A    No.

 13              MR. LOH:    Objection; foundation.

 14              Go ahead.

 15              THE WITNESS:    No, I did not say that.                10:51:02

 16      BY MR. STRUBLE:

 17         Q    You felt Bobby was okay with you selling

 18      prints of Mr. Carter?

 19         A    He    he didn't tell me to stop.           He just

 20      said, "We're going to sue."      And...                        10:51:13

 21         Q    If someone tells you that they're going to

 22      sue relating to the sale of prints, in your mind,

 23      that doesn't mean --

 24         A    I mean, I would

 25         Q    -- that you need to stop -- sir, don't                 10:51:23

                                                                      Page 40

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                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 158 Filed 06/17/22 Page 73 of 78 Page ID #:5994
                                   CONFIDENTIAL

  1              (Technical difficulty.)

  2      BY MR. STRUBLE:

   3        Q    Was there an answer?

  4         A    Oh, I'm sorry.    What was the question?

   5        Q    Do you have any notes of that conversation?             01:32:18

   6        A    No.   We were -- Mr. Santiago and I were --

  7      were texting.

   8        Q    Uh-huh.   And you believe that there is a text

  9      message where Mr. Santiago suggested just talking

 10      about the cover shoot?                                          01:32:36

 11         A    No.   I mean, at the end of the -- or towards

 12      the end of the negotiation, there were several calls

 13      between myself and Mr. Santiago.         And towards the

 14      end of the negotiation, we had agreed to deal terms

 15      which were for just one image.         And I believe there      01:32:53

 16      was a text message that we shared with you.

 17         Q    Uh-huh.   But you understand that Mr. Santiago

 18      doesn't remember things that way, correct?

 19         A    I understand that.      And when we received the

 20      agreement and saw that it was -- that the agreement             01:33:10

 21      said that it was more than just a cover art and it

 22      referred to several -- several shoots, not just the

 23      one Reasonable Doubt shoot, I called Mr. Santiago

 24      right away and -- and told him that this was -- that

 25      was not what we discussed, and he was backpedaling              01:33:35

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  1      quite honestly.

  2              And he said -- and he said, "Well, you know,

  3      all the other things that        that we said no to,

  4      like the NFTs or -- or the -- the prints with the

  5      signatures, that's back on the table.          Let's just      01:33:50

   6     let's just make this happen."

  7              And     and I said, "Well, that's not what we

  8      discussed."

  9              And at the end of the conversation -- and I

 10      remember this very clearly -- he said, "Trust me,              01:34:09

 11      you want to do this, because I've seen this happen

 12      before."   And he was referring to -- and he's -­

 13      he's mentioned it throughout the conversations,

 14      that -- that Jay-Z was -- or Mr. Carter, rather,

 15      would -- would sue.                                            01:34:28

 16              And -- and I told him, "I can't -- I can't

 17      you know, I can't do anything on this end because

 18      the entire shoot is not for sale."

 19              (Ms. Hsia joined the proceedings.)

 20              MR. STRUBLE:   I think we lost him.                    01:34:50

 21              MR. LOH:   Okay.    I guess we're all here, but

 22      Mr. Davidov is having connection issues.

 23              MR. STRUBLE:   Off the record.

 24              MR. LOH:   Off the record.

 25              THE VIDEOGRAPHER:    We're going off the               01:35:05

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  1      record.     The time is 1:35.

  2                (Recess.)

   3               (Record read.)

   4               THE VIDEOGRAPHER:        We are back on the record.

   5     The time is 1:37 p.m.                                            01:37:34

   6               THE WITNESS:     Okay.    So should I just

   7     continue?

   8     BY MR. STRUBLE:

  9         Q      Were -- had you finished your answer --

 10         A      No.                                                    01:37:43

 11         Q      -- Mr. Davidov?

 12                Please continue.

 13         A      So I told him it wasn't for sale, but we

 14      did -- you know, I did discuss it with Jonathan and

 15      if -- and we had         we had discussed a $20 million          01:37:55

 16      number.     I remember this distinctly at the end of

 17      the conversation, that he -- that he kept saying,

 18      "You don't want to go there," referring to, you

 19      know, not making this deal.

 20              And -- and he had mentioned in the past                  01:38:12

 21      that -- that, you know, that, Mr. Carter had sued

 22      others in the past and -- and that we would just be

 23      like another one that he would sue over this.          And,

 24      you know, when -- when I said, "I'm sorry, you know,

 25      this is not what we discussed," his response was,                01:38:26

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  1      and I quote, "We just got it for cheaper," meaning

  2      that they were going to sue and -- and get it for

   3     whatever the lawsuit costs.

   4        Q    Was this a text message?

   5        A    No.   It was a conversation.        It was our last      01:38:44

  6      conversation.

   7        Q    Uh-huh.     And so, you know, when this alleged

   8     threat to sue happened, how did you respond to him?

   9        A    I didn't.     That was the end of the

 10      conversation.                                                    01:39:04

 11         Q    Was there

 12         A    I said, "I'm sorry -- I'm sorry that you feel

 13      that way, but we are -- we're still willing to work

 14      this out and negotiate in good faith."

 15         Q    Didn't you tell him that you would take it               01:39:17

 16      on, see you in court?

 17         A    No.

 18         Q    Nothing to that effect?

 19         A    No.   I would -- I would never say something

 20      like that, because I -- I mean, first of all, I have             01:39:29

 21      no authority to say that, but I would never say

 22      anything like that.

 23         Q    Uh-huh.     And you said that you had told him

 24      that the entire shoot was never for sale but, in

 25      fact, it was, sir, wasn't it?                                    01:39:50

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